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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   JASON LEE VAN DYKE                           §
       Plaintiff                                §
                                                §
   v.                                           §       Case No. 4:18cv247
                                                §
   THOMAS CHRISTOPHER RETZLAFF                  §
   a/k/a Dean Anderson d/b/a BV Files, Via      §
   View Files L.L.C., and ViaView Files         §
         Defendant                              §

                             PLAINTIFF'S INITIAL DISCLOSURES

   To: Thomas Christopher Retzlaff, Pro Se Defendant, at PO Box 46424, Phoenix, AZ 85063.

         Plaintiff, Jason Lee Van Dyke, makes these initial disclosures as required by Rule

   26(a)(l) of the Federal Rules of Civil Procedure and the orders of the Court.

                        A.   DISCLOSURES ORDERED BY THE COURT

    1.   The true legal name of Plaintiff is Jason Lee Van Dyke. The true legal name of
         Defendant is Thomas Christopher Retzlaff.

   2.    There are no other potential parties to this cause of action.

   3.    The following are the names, addresses, and telephone numbers of all persons having
         knowledge of facts relevant to Plaintiffs claims, together with a brief statement of that
         person's connection \Vith the case:

         Thomas Christopher Retzlaff
         PO Box46424
         Phoenix, AZ 85063
         210-317-9800

         Mr. Retzlaff is the Defendant in this case. Mr. Retzlaff has repeatedly stalked
         Plaintiff since approximately December 20, 2017 through the filing of frivolous and
         harassing complaints against him with the State Bar of Texas, contacting Plaintiffs
         employers and clients, and publishing false and defamatory material about Plaintiff on
         his "BV Files" website.




                                           Exhibit 1
  RULE 26 DISCLOSURES                                                                Page 1 of 6
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         Denise Hollas (Retzlaff)
         11833 W Rosewood Dr.
         El Mirage, AZ 85335
         (f elephone Number Unknown)

         Ms. Hollas is the former spouse of Defendant and has been previously been a victim
         of stalking by Mr. Retzlaff according to an affidavit dated October 20, 1997.
         Additionally, Ms. Hallas is the person who allegedly notarized the affidavit attached to
         Defendant's Anti-SLAPP motion in this case. She is in possession of official notarial
         records that relate or pertain to this case and, on information and belief, has knowledge
         of Defendant's ownership of the "BV Files" website and use of the "Dean Anderson"
         pseudonym.

         Collin Retzlaff
         (Current Whereabouts Unknown)

         Collin Retzlaff is the son of Defendant and, on July 23, 2014, filed an affidavit in a
         California Superior Court case stating "I personally saw him working on the WordPress
         blogs that attack James McGibney and his company. He's created articles for these
         blogs and posts material to these biogs. He specifically was using the BV Files
         account which was tied into a "BVFiles" email address which was clearly visible on the
         top right of the computer screen. This "BVFiles" account has posted on "BV Files 11
         "McGibney Files" and 11 ViaView Files" Wordpress biogs.

         Brittany Retzlaff
         (Believed to Reside in Lima, Peru)

         Brittany Retzlaff is the daughter of Defendant and has been a victim of sexual abuse by
         Defendant. On or around October 9, 2014, she filed an affidavit in a California
         Superior Court case pertaining to the fact that 11 Dean Anderson" and Defendant are one
         and the same person .

         .JasonLee Van Dyke
         108 Durango Drive
         Crossroads, TX 76227
         (469) 964-5346

         Jason Van Dyke is an attorney licensed to practice law in the State of Texas and is the
         Plaintiff in this cause of action. He has personal knowledge of all of the facts stated in
         Plaintiffs Second Amended Complaint.




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         Robert Karlseng
         5412 W. Plano Parkway, #101
         Plano, TX 75093
         972-733-3800

         Mr. Karlseng is the CEO ofKarlseng, LeBlanc & Rich L.L.C ("KLR") and Maverick
         Title of Texas L.L.C. d/b/a Texas Title ("Texas Title'1). Mr. Karlseng corresponded
         with Defendant on numerous occasions while Defendant was using the "Dean
         Anderson" pseudonym. Mr. Karlseng is the person who terminated Plaintiffs
         employment after learning that Defendant had posted pictures of him and referred to
         him and his company in a derogatory manner on the "BV Files" website.

         Claude Rich
         5412 W. Plano Parkway, #101
         Plano, TX 75093
         972-733-3800

         Mr. Rich was Plaintiffs immediate supervisor at KLR. He can verify Plaintiffs work
         history, salary, dates of employment, and other information relevant to Plaintiffs
         damages in this case.

          Evan Stone
          109 E. Oak Street, # 1000
          Denton, TX 76201
          469:..248-5238

         Mr. Stone is an attorney licensed to practice law in the State of Texas and another
         victim of Defendant. He has in his possession knowledge and information that
         circumstantially supports Plaintiffs claims that Defendant and "Dean Anderson" are
         one and the same person, as well as Plaintiffs claim that Defendant is responsible for
         the content of the "BV Files" website.

         Philip Klein
         822 Nederland Ave
         Nederland, TX 77627
         (409) 729-8798

         Mr. Klein is a private investigator and another victim of Defendant. He is believed to
         have in his possession knowledge and information that circumstantially supports
         Plaintiffs claims that Defendant and "Dean Anderson" are one and the same person, as
         well as Plaintiff's claim that Defendant is responsible for the content of the "BV Files"
         website.




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               John Morgan
               2175 North St.
               Beaumont, TX 77701
               (409) 239-5984

               Mr. Morgan is an attorney licensed to practice law in the State of Texas and is another
               victim of Defendant. He has represented other victims of Thomas Retzlaff in state
               court and, on information and belief, is in possession of knowledge and information
               that circumstantially support Plaintiffs claims that Defendant and "Dean Anderson" are
               one and the same person, as well as Plaintiffs claim that Defendant is responsible for
               the content of the "BV Files" website.

               Jason S. Leiderman
               5740 Ralston Street, #300
               Ventura, CA 93003
               (805) 654-0200

               Mr. Liederman is a California attorney who previously represented ViaView Inc. in a
               claim against Defendant which included sworn declarations of Collin Retzlaff and
               Brittany Retzlaff in support of a temporary restraining order against Defendant. Mr.
               Liederman is believed to have knowledge of the current whereabouts of Collin Retzlaff
               and Brittany Retzlaff, who are essential witnesses in this case.

              · James McGibney
                5655 Silver Creek Valley Road
                San Jose, CA 95138
                408-601-0685

               Mr. McGibney is an entrepreneur and victim of Thomas Retzlaff. On information and
               belief, Mr. McGibney is in possession of knowledge and information that
               circumstantially support Plaintiffs claims that Defendant and "Dean Anderson" are
               one and the same person, as well as Plaintiffs claim that Defendant is responsible for
               the content of the "BV Files" website

               Jeffrey Dorrell
               14201 Memorial Drive
               Houston, TX 77079
               713-522-9444

               Mr. Dorrell previously represented Neal Rauhauser, a known associate of Defendant, in
               a defamation case. James McGibney was the Plaintiff in that case and Evan Stone was
               Mr. McGibney's attorney in that case. Mr. Dorrell has been accused on multiple
               occasions by John Morgan of providing legal aid to Defendant, but he has denied those
               claims. Mr. Dorrell is a Texas attorney employed by Hanszen Laporte, a law firm
               which may have previously had some association with Defendant.

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   4.    Pursuant to Local Rule CV-34, no authorizations by Plaintiff are necessary because (a)
         the physical condition of a party is not at issue in this case; (b) the mental condition of a
         party is not at issue in this case; (c) lost earnings, lost earning capacity, and back pay
         are not at issue in this case.

   5.    A copy of all documents, electronically stored infonnation, witness statements, and
         tangible things in the possession, custody, or control of the disclosing party that are
         relevant to the claim or defense of this case are attached to this document.

                 A.      State Bar Documents
                         (i)     Thomas Retzlaff Complaint
                         (ii)   Board of Disciplinary Appeals Letter
                 B.      Electronic Mail Communications
                         (i)     Correspondence from Defendant ("Dean Anderson")
                         (ii)    Correspondence from Karlseng, LeBlanc & Rich L.L.C.
                 C.      Content from BY Files website
                         (i)     March 8, 2018
                         (ii)    March 25, 2018
                         (iii)   April l, 2018
                         (iv)    April 6, 2018
                 D.      Affidavits From Prior Cases
                         (i)     Denise Hollas (Retzlaff)
                         (ii)    Collin Retzlaff
                         (iii)   Brittany Retzlaff
                         Retzlaff Impeachment
                         (i)     Criminal History
                         (ii)    Sex Offender Order
                         (iii)   73rd District Opinion
                         (iv)    9th District Appellate Opinion

                         B.    DISCLOSURES REQUIRED BY RULE 26(a)

   6.    The information required for disclosure under Rule 26(a)(l)(A)(i) is identical to the
         infonnation disclosed in paragraph three above.

    7.   The information required for disclosure under Rule 26(a)(l )(A)(ii) is identical to the
         infonnation disclosed in paragraph five above.

    8.   The following constitutes a computation of Plaintiffs damages as required by Rule
         26(a)(l )(A)(iii):

                 Loss of Employment                                       $500,000.00
                 Damage to Personal Reputation                            $4,500,000.00
                 Damage to Professional Reputation                        $5,000,000.00
                 Mental Anguish                                           $20,000,000.00
                 Punitive Damages                                         $70,000,000.00


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   9.    None of the documents described by Rule 26(a)(l)(A)(iv) exist.

                                                     Respectfully submitted,

                                                      Isl Jason Lee Van Dyke
                                                      Jason L. Van Dyke
                                                      State Bar No. 24057426
                                                      108 Durango Drive
                                                      Crossroads, TX 76227
                                                      P - (469) 964-5346
                                                      F (972) 421-1830
                                                      Email: jason@vandykelawfirm.com

                                  CERTIFICATE OF SERVICE

   I certify that a true and correct copy of the foregoing, together with all documents required
   by the orders of the court and Rule 26(a)(l)(A)(ii) were served on Thomas Christopher
   Retzlaff, Defendant, by U.S. Certified Mail No. 7017 1450 0000 4188 4291, postage pre-
   paid, return receipt requested, on April 12, 2018.

                                                       Isl Jason Lee Van Dyke
                                                       JASON L. VAN DYKE




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